Case 1:04-cr-00741-JG-MDG   Document 183   Filed 04/02/07   Page 1 of 6 PageID #:
                                    446




                                       s/John Gleeson
Case 1:04-cr-00741-JG-MDG   Document 183   Filed 04/02/07   Page 2 of 6 PageID #:
                                    447
Case 1:04-cr-00741-JG-MDG   Document 183   Filed 04/02/07   Page 3 of 6 PageID #:
                                    448
Case 1:04-cr-00741-JG-MDG   Document 183   Filed 04/02/07   Page 4 of 6 PageID #:
                                    449
Case 1:04-cr-00741-JG-MDG   Document 183   Filed 04/02/07   Page 5 of 6 PageID #:
                                    450
Case 1:04-cr-00741-JG-MDG   Document 183   Filed 04/02/07   Page 6 of 6 PageID #:
                                    451
